           Case 1:23-cv-03621-SCJ Document 13 Filed 08/18/23 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

                                      )
THE STATE OF GEORGIA,                 )
                                      )
      v.                              )        Case No. 1:23-cv-03621-SCJ
                                      )
MARK R. MEADOWS,                      )
                                      )
               Defendant.             )
                                      )

                 NOTICE REGARDING A PROMPT HEARING

      Earlier today, counsel for another defendant named in the State of Georgia’s

Indictment informed the Court by email that he intends to file a forthcoming notice

of removal and suggested that this Court possibly postpone the August 28, 2023,

hearing date.

      Mr. Meadows opposes any delay of the August 28 hearing. As this Court has

noted, Mr. Meadows has a right to a “prompt[]” hearing under the removal statute,

28 U.S.C. § 1455(b)(5), and has scheduled the hearing accordingly. Moreover, Mr.

Meadows has articulated grounds for seeking removal unique to Mr. Meadows that

should be considered unencumbered by different issues potentially raised by

different defendants. Accordingly, Mr. Meadows respectfully submits that the

hearing should proceed as planned.


                                          1
       Case 1:23-cv-03621-SCJ Document 13 Filed 08/18/23 Page 2 of 3




Dated: August 18, 2023                   Respectfully submitted,
                                         George J. Terwilliger III

                                         Counsel to Mark R. Meadows

                            Joseph M. Englert
                            MCGUIREWOODS LLP
                            1230 Peachtree St., N.E., Suite 2100
                            Atlanta, GA 30309
                            (404) 443-5500
                            Jenglert@mcguirewoods.com

                            George J. Terwilliger, III (admitted pro hac vice)
                            John S. Moran (admitted pro hac vice)
                            Michael Francisco (admitted pro hac vice)
                            MCGUIREWOODS LLP
                            888 16th Street NW, Suite 500
                            Washington, DC 20006
                            (202) 857-1700
                            gterwilliger@mcguirewoods.com
                            jmoran@mcguirewoods.com
                            mfrancisco@mcguirewoods.com




                                     2
        Case 1:23-cv-03621-SCJ Document 13 Filed 08/18/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

      On August 18, 2023, the foregoing Notice Regarding a Prompt Hearing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to all attorneys of record.

      This 18th day of August, 2023.

/s/ Joseph M. Englert
Joseph M. Englert
MCGUIREWOODS LLP
1230 Peachtree St., N.E., Suite 2100
Georgia Bar No. 112409
Atlanta, GA 30309
(404) 443-5500
jenglert@mcguirewoods.com




                                          3
